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                              EXHIBIT B
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                             Individualized Reentry Plan - Program Review (Inmate Copy)                                                                      SEQUENCE: 00529463
                                                   Dept. of Justice / Federal Bureau o£ Prisons                                                      Te a m         Date:       03-18-2020
                            P l a n i s f o r i n m a t e : FA U L K N E R , H I C B A E L B L A I N E 0 3 8 2 9 - 0 7 8


                   Facility:             TEX TEXARKANA FCI                                                    Proj. Rel. Date            03-28-2036

                     Name:               FAULKNER. MICHAEL BLAINE                                             Proj. Rel. Mthd            GOT REL

      Register No.:                      0 3 8 2 9 - 0 7 8                                                        DNA Status             M E N 0 0 2 9 7 / 11 - 0 5 - 2 0 1 4

              Age:                       47
      Date of Birth:

Detainers

Detaining Agency                                                                      Remarks

NO    D E TA I N E R


Current Work Assignments
Fad Assignment Description
                    V T O R D                    V O C AT I O N A L T R N G O R D 7 : 3 0 - 1 : 3 0                 0 8 - 11 - 2 0 1 7

Current Education Information
Faci Assignment Description
TEX       ESL               HAS        ENGLISH                PROFICIENT                                            10-26-1993

TEX      GED             HAS       COMPLETED                  GED         OR   HS     DIPLOMA                       10-26-1993

Education Courses
SubFacI Action Description
TEX         C               VT      H VA C            5:30PM-8:30PM                   M-THURS                       03-29-2019                        02-14-2020

TEX        C            GRAPHIC                 DESIGN            530-830            PM     M-TH                    02-27-2017                        02-16-2018
TEX             C                R O S E T TA              S PA N I S H         IV                                  04-23-2017                        05-23-2017

TEX             C                R O S E T TA           S PA N I S H           III                                  02-12-2017                        04-23-2017

MEN            C             THINKING                 ON          YOUR           FEET                               07-09-2016                        08-16-2016

MEN                     C              ACCOUNTING                         CYCLE                                     06-18-2016                        07-09-2016

MEN                  C             TELEPHONE                        SKILLS                                          06-18-2016                        07-09-2016

MEN         C               S TA RT I N G             YOUR           OWN          BUSINESS                          05-13-2016                        07-09-2016

MEN             C            BETTER                BUSINESS                    WRITING                              05-07-2016                        07-09-2016

MEN          C              WRITING               A        BUSINESS                  PLAN                           05-07-2016                        07-09-2016

MEN             C            BASICS               OF            MANUFACTURING                                       05-13-2016                        0 6 - 11 - 2 0 1 6

MEN                     C              AT T I T U D E              ADJUSTMENT                                       05-07-2016                        0 6 - 11 - 2 0 1 6

MEN                     C              TIME                 MANAGEMENT                                              01-21-2016                        01-21-2016

MEN                 C              MASTER                     SCHEDULING                                            01-21-2016                        01-21-2016

MEN                 C             FINANCIAL                      S TAT E M E N T S                                  01-21-2016                        01-21-2016

MEN                 C             BUSINESS                      ETIQUETTE                                           01-21-2016                        01-21-2016

MEN                 C             C O M M U N I C AT I O N                  SKILLS                                  10-01-2015                        10-23-2015

MEN                C              EMOTIONAL                      INTELLIGENCE                                       08-27-2015                        10-02-2015

MEN                 C             CONFLICT                      MANAGEMENT                                          03-05-2015                        04-04-2015
MEN             C                BEG          BASIC               DRAWING                                           01-16-2014                        03-07-2014

MEN              C               ACE            CDL            ENGLISH                                              12-18-2013                        01-22-2014

BMM                          C                   RELEASE                                                            07-26-2012                        07-26-2012


Discipline History (Last 6 months)
Hearing Date Prohibited Acts
" NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS "


Current Care Assignments ..
Assignment Description
CARE1-MH                                         C A R E 1 - M E N TA L H E A LT H                                  07-13-2012

CARE2                                            STABLE, CHRONIC CARE                                               10-27-2016

Current Medical Duty Status Assignments
[Assignment Description
LOWER BUNK                                       LOWER BUNK REQUIRED                                                03-04-2020

PAPER                                            LEGACY         PA P E R    MEDICAL       RECORD                    11 - 0 7 - 2 0 1 8

REG     DUTY                                     NO MEDICAL RESTR-REGULAR DUTY                                      10-27-2016

YES F/S                                          CLEARED FOR FOOD SERVICE                                           0 7 - 11 - 2 0 1 2


Sentry Data as of 03-18-2020                                              Individualized Reentry Plan - Program Review (Inmate Copy)
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